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 5
                                        IN THE UNITED STATES DISTRICT COURT
 6
                                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8                                                          )
     UNITED STATES OF AMERICA,                              )   Case No.: 2:12-cr-00188-GEB,
 9                                                                        2:08-cr-00392-GEB, and
                                                            )             2:08-cr-00570-GEB
10                               Plaintiff,                 )
                           vs.                              )   REQUEST TO SEAL DECLARATION
11                                                              IN SUPPORT OF MOTION TO
                                                            )
     JUAN GABRIEL ALVAREZ,                                  )   WITHDRAW AS COUNSEL; ORDER
12                                                              GRANTING SEALING REQUEST
              Defendant.                                    )
13                                                          )
14
                                 IT IS HEREBY REQUESTED that the Court grant an order sealing the
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     Declaration of Counsel in Support of Motion to Withdraw. As set forth in the attached
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     sealed declaration of counsel, the reasons for the motion to withdraw are attorney-client
17
     privileged and would invade the work product doctrine and violate counsel’s duty of
18
     loyalty.
19
20   DATED: December 19, 2012                                     By:     /s/ Thomas A. Johnson
                                                                          THOMAS A. JOHNSON
21                                                                        Attorney for Defendant
                                                                          Juan G. Alvarez
22
                 IT IS SO ORDERED.
23   Date: 12/19/2012
24                                                   ___________________________________
                                                     GARLAND E. BURRELL, JR.
25                                                   Senior United States District Judge
26   DEAC_Signature-END:




27   61khh4bb
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